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                                  UNITED STATES DISTRICT COURT
5                                WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
6
7     UNITED STATES OF AMERICA,

8                   Plaintiff,                              Case No. CR05-334RSL

9            v.                                             ORDER ON MOTION FOR PRETRIAL
                                                            DISCLOSURE OF CO-CONSPIRATOR
10    RAJINDER JOHAL, et al.,                               HEARSAY EVIDENCE

11                  Defendants.

12
            This matter comes before the Court on “Defendant Johal’s Motion for Pretrial Disclosure
13
     of Co-conspirator Hearsay Evidence” (Dkt. # 133). The Court has considered this motion and
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     the government’s response, and it is clear that the government has already complied and
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     recognizes its continuing obligation in this area. See Fed. R. Evid. 801. In light of this
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     agreement, defendant’s motion is DENIED AS MOOT.
17
18          DATED this 24th day of May, 2006.

19
20                                                     A
                                                       Robert S. Lasnik
21                                                     United States District Judge
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26
      ORDER ON MOTION FOR PRETRIAL
      DISCLOSURE OF CO-CONSPIRATOR
      HEARSAY EVIDENCE
